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                IN THE UNITED STAJrS ISTRIlc?tJRT FOR
                   THE SOUTHERN DISTRICT OF GbRGIA
                          WAYCROSS DIVISION
                                          OCT - i 7I5
UNITED STATES OF AMERICA

V.                                                              000031

James Henry Baisden,

        Defendant.
                                      )




                                 ORDER

        On December 10, 2014, Defendant filed a motion under 18

U.S.C. § 3582(c) (2) for a sentence reduction pursuant to

Amendment 782 to the United States Sentencing Guidelines.

        On April 28, 2015, Defendant was released from Bureau of

Prisons custody upon the expiration of his 262-month sentence,

and he began service of his supervised release term.

        Even pursuant to an Amendment 782 sentence reduction

(assuming Defendant were eligible), he could not have been

released from custody any earlier than April 28, 2015, as the

retroactivity of that Amendment does not occur until November 1,

2015.
        Since Defendant is no longer serving his originally imposed

federal custodial sentence, a requirement for sentence reduction

consideration and eligibility, his Motion for Sentence Reduction

pursuant to 18 U.S.C. § 3582(c) (2) is DENIED.

        SO ORDERED this   7 764 day of                  2015.




                              WILLIAM T. MOORE, JR.
                              JUDGE, U.S. DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
